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 9 Attorneys for Defendant ELIZABETH A. HOLMES

10

11                                    UNITED STATES DISTRICT COURT

12                                 NORTHERN DISTRICT OF CALIFORNIA

13                                             SAN JOSE DIVISION

14
     UNITED STATES OF AMERICA,                         )   Case No. CR-18-00258-EJD
15                                                     )
             Plaintiff,                                )   DECLARATION OF AMY MASON SAHARIA
16                                                     )   IN SUPPORT OF MS. HOLMES’ MOTION TO
        v.                                             )   EXCLUDE CERTAIN TESTIMONY OF ERIKA
17                                                     )   CHEUNG, DANIEL EDLIN, AND SO HAN
     ELIZABETH HOLMES and                              )   SPIVEY (A.K.A. DANISE YAM)
18   RAMESH “SUNNY” BALWANI,                           )
                                                       )
19           Defendants.                               )   Hon. Edward J. Davila
                                                       )
20                                                     )
                                                       )
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             I, AMY MASON SAHARIA, declare as follows:
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             1.      I represent Defendant Elizabeth Holmes and have been admitted to practice pro hac vice
24
     in the above-captioned matter. I submit this declaration in support of Ms. Holmes’ Motion To Exclude
25
     Certain Testimony of Erika Cheung, Daniel Edlin, and So Han Spivey (a.k.a. Danise Yam) (“Motion”).
26
     I attest to the following facts upon which the Motion relies.
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28
     DECLARATION OF AMY MASON SAHARIA
     CR-18-00258 EJD
                                                      1
           Case 5:18-cr-00258-EJD Document 1000-1 Filed 09/06/21 Page 2 of 2




 1         2.     Attached to the Motion are three exhibits. The content of the exhibits are as follows:

 2                a.      Exhibit 1 is a true and correct copy of an FBI Form FD-302 of an interview of

 3 Erika Cheung, dated February 4, 2021, and Bates-stamped US-REPORTS-0024913. Certain segments

 4 of the Form FD-302 have been highlighted and annotated.

 5                b.      Exhibit 2 is a true and correct copy of an FBI Form FD-302 of an interview of

 6 Daniel Edlin, dated August 20, 2021, and Bates-stamped US-REPORTS-0032859.

 7                c.      Exhibit 3 is a true and correct copy of an FBI Form FD-302 of an interview of So

 8 Han Spivey (A.K.A. Danise Yam) dated July 20, 2021, and Bates-stamped US-REPORTS-0027707.

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10         I declare under penalty of perjury under the laws of the United States that the foregoing is true

11 and correct to the best of my knowledge.

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13         Executed this 6th day of September, 2021 in Chevy Chase, MD.

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16                                                       AMY MASON SAHARIA
                                                         Attorney for Elizabeth Holmes
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     DECLARATION OF AMY MASON SAHARIA
     CR-18-00258 EJD
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